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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                 US DOMINION, INC, et al.                      )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-cv-00040-CJN
                  SIDNEY POWELL, et al.                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation, Plaintiffs        .


Date:          02/02/2021                                                               /s/ Dustin A. Pusch
                                                                                         Attorney’s signature


                                                                                 Dustin A. Pusch (Bar No. 1015069)
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